   Case 18-32106 Document 178-8 Filed in TXSB on 06/06/18 Page 1 of 8




CORPORATE GUARANTEE BY ERIN ENERGY CORPORATION MADE IN FAVOUR
                     OF ZENITH BANK PLC


THIS GUARANTEE is given the 3rd day of August 2016 by ERIN ENERGY
CORPORATION, a company incorporated under the laws of Delaware, USA and having
its principal offices at 1330 Post Oak Boulevard, Suite 2250, Houston, Texas, USA
(hereinafter referred to as "the Guarantor" which expression shall, wherever the context
so admits, include its successors in title and assigns), to ZENITH BANK PLC a bank
incorporated under the laws of the Federal Republic of Nigeria and having its registered
office at Plot 84, Ajose Adeogun Street, Victoria Island, Lagos (hereinafter referred to as
"the Bank", which expression shall wherever the context so admits, include its
successors in title and assigns).

WHEREAS the Bank has agreed to grant to ERIN PETROLEUM NIGERIA LIMITED
(hereinafter referred to as "the Borrower" which expression shall wherever the context so
admits, include its successors in title and assigns) a Term Loan Facility in the principal
sum of Ninety Two Million, Three Hundred and Sixty Seven Thousand, Two
Hundred and Ninety Five United States Dollars plus thirty three cents
($92,367,295.33) subject to the Guarantor giving to the Bank in writing a Guarantee as
hereinafter appearing.

NOW THEREFORE THIS GUARANTEE WITNESSETH as follows:

   1. Continuing Guarantee and Obligations covered:

       1.1.    The Guarantor hereby absolutely and unconditionally guarantees, on a
               continuing basis for as long as the Borrower’s obligation to the Bank shall
               remain undischarged to the Bank the prompt payment to it (whether at
               maturity, by acceleration or otherwise) and at all times thereafter, of any
               and all of the Borrower's liabilities and obligations which now or may
               hereafter from time to time become owing to the Bank by the Borrower
               either solely or jointly with any others in respect of loan/banking facility
               granted to the Borrower by the Bank pursuant to the Term Loan Facility
               Agreement between Zenith Bank (as the Lender) and Erin Petroleum
               Nigeria Limited (as the Borrower) dated August 3, 2016 up to but not
               exceeding the principal sum of Ninety Two Million, Three Hundred and

CEI Corporate Guarantee/Zenith $100M Facility                                      Page 1
Case 18-32106 Document 178-8 Filed in TXSB on 06/06/18 Page 2 of 8



          Sixty Seven Thousand, Two Hundred and Ninety Five United States
          Dollars plus thirty three cents ($92,367,295.33) together with all interest,
          commissions, discounts and other bankers' charges, including legal
          charges occasioned by or incidental to this or any other security for the
          afore- mentioned liabilities and obligations or the enforcement of this or
          any such other security, the interest aforesaid being payable as well after
          as before any judgment and all such liabilities and obligations of the
          Borrower to the Bank now or hereafter existing being hereinafter referred
          to as "the obligations", provided that the Guarantor’s obligations
          hereunder shall reduce in proportion with and as Borrower’s obligations
          under the Term Loan Agreement dated ……………….between the
          Borrower and the Bank..

2. Extensions of Obligations and Primary Liability:

   2.1.   The obligations shall include all renewals, extensions and modifications of
          any indebtedness or liability of the Borrower in respect of the obligations.
          The Guarantor agrees that its liability hereunder shall be that of one
          primarily liable on the obligations and not merely that of surety.


3. Waivers by the Guarantor:

   3.1.   The Guarantor hereby waives notice of acceptance of this continuing
          Guarantee, notice of any and all of the obligations, and notice upon the
          making or granting by the Bank at any time of any and all renewals,
          extensions or modification of any of the obligations. The Guarantor also
          waives notice of any default by the Borrower in payment of, or
          performance under, any of the obligations, as well as presentment,
          protest, notice of dishonour, and demand for payment of any of the
          obligations. In addition, the Guarantor waives any right to compel the
          Bank to sue upon, enforce payment for, or take action on default in
          respect of, any or all of the obligations.

4. Banks Indulgencies, Forbearances and Consent to Borrower's Action or
   Omission, Application of Borrower's Payments:

   4.1.   The Guarantor hereby agrees that the Bank may, from time to time, and
          without notice to the Guarantor, grant indulgences or forbearances to the
          Borrower which, in the absence of its consent, constitutes a breach or
          may be deemed to constitute a breach of the agreement of the Borrower
          respecting any or all of the obligations. Similarly from time to time,
          without notice to or consent of the undersigned, the Bank may give its
          consent to any action or omission of the Borrower which, in the absence



                                       2
Case 18-32106 Document 178-8 Filed in TXSB on 06/06/18 Page 3 of 8



          of such consent, constitutes a breach or may be deemed to constitute a
          breach of the agreements of the Borrower with respect to any or all of the
          obligations. The Bank may grant any and all renewals, extensions,
          modifications, indulgences, forbearances or consents with or without
          consideration, and on such terms and conditions as may be acceptable to
          it, without in any manner affecting or impairing the liability of the
          Guarantor hereunder.

   4.2.   The Guarantor further agrees that the Bank is hereby irrevocably
          authorised and empowered to apply to the satisfaction of the obligations,
          as it may see fit, payment or payments made to it by the Borrower.




5. Other Security:

   5.1.   From time to time, upon the occurrence of an event of default under the
          Term Loan Agreement dated………between the Borrower and the
          Lender, that is continuing the Bank may take any or all of the following
          actions without notice to, or consent of the Guarantor:

      5.1.1.       retain or obtain a security they hold securing any of the
               obligations, or securing any obligation under this continuing
               Guarantee;

      5.1.2.      subordinate, compromise or release any security they hold
               securing any of the obligations, or securing any obligation under this
               continuing Guarantee or permit substitution or exchange for such
               security;

      5.1.3.       retain or obtain the primary or secondary liability of any other party
               or parties with respect to any of the obligations;

      5.1.4.      subordinate, waive, compromise or release any liability of any
               nature of any other party or parties with respect to the obligations, or
               any security for such obligations, on such terms and conditions as
               may be deemed acceptable to the Bank, and

      5.1.5.      resort to the Guarantor for payment of any of the obligations,
               whether or not the Bank shall have resorted to any property securing
               any of the obligations or any obligation under this continuing
               Guarantee and whether or not the Bank shall have proceeded against
               any other party primarily or secondarily liable on the obligations.




                                         3
Case 18-32106 Document 178-8 Filed in TXSB on 06/06/18 Page 4 of 8



         5.1.6.      debit the Guarantor’s account and/or appropriate sums therein to
                  cover or meet the extent of any loss or liability arising from this
                  Guarantee.

         5.1.7.       debit any of the Guarantor’s account in its name or any subsidiary
                  or sister company with any sums payable hereunder without prior
                  reference to the Guarantor, set off the Guarantor’s liability or any
                  amounts due by the Guarantor hereunder against any money
                  standing to the Guarantor’s account or accounts referred to in these
                  presents and retain as security for amounts due any shares stock or
                  other security or interest in securities held by the bank for safe
                  keeping or otherwise.

   5.2.     No collateral or other security which may now or hereafter be held by the
            Bank for all or any part of the moneys or liabilities hereby guaranteed nor
            the liability to which the Bank may otherwise be entitled nor the liability of
            any person or persons not parties hereto for all or any part of the moneys
            or liabilities hereby secured shall be in any way prejudiced or affected by
            this Guarantee.

   5.3.     The liability of the Guarantor hereunder shall not be affected by any
            failure by the Bank to take any security or by any invalidity of any security
            taken or by any existing or future agreement by the Bank as to the
            application of any advances made or to be made to the Borrower.

   5.4.     This Guarantee shall be in addition to any other guarantee or other
            security for the Borrower which the Bank may now or hereafter hold
            whether from the Guarantor hereunder or otherwise and on discharge by
            payment or otherwise such other guarantee or security shall remain the
            property of the Bank.


6. Bank's Set-off:

   (1)      In addition to any other right which the Bank may have hereunder at law
            or in equity, if any of the circumstances of insolvency (as defined in this
            Clause) shall occur, or if any liability of the Guarantor under this
            continuing Guarantee shall become due and owing for any reason, then
            the Bank upon issuing a demand notice to the Guarantor and such
            demand is not honoured thirty (30) days after the date of the demand,
            may apply against the liability of the undersigned under this continuing
            Guarantee any or all present and future credit balances of the Guarantor
            in whatever currency or currencies as may be held by the Bank, its
            branches or subsidiaries, and in addition, the Bank may so apply any



                                           4
     Case 18-32106 Document 178-8 Filed in TXSB on 06/06/18 Page 5 of 8



              other present or future claim of the Guarantor against the Bank, its
              branches or subsidiaries. The term "Circumstances or Insolvency" as
              used in this instrument shall mean any situation in which the Borrower
              shall make an assignment for the benefit of creditors, or shall make a
              composition for the benefit of creditors or shall be the subject of any
              proceeding or petition with a view to its being wound up (provided
              however, that where involuntary, such proceeding or petition shall be
              covered by this Clause only if it shall remain undismissed for thirty (30)
              days or be consented to by the Borrower); or any order shall be made for
              winding up the Borrower, or a petition, shall be approved in any of the
              foregoing proceedings or their equivalences in any jurisdiction.

        (2)   The Bank shall so long as any moneys or liabilities due or incurred by or
              from the Borrower to the Bank remain unpaid or undischarged have a lien
              or a right of set-off therefore on all moneys now or hereafter standing to
              the credit of or assets now or hereafter lodged with or under the control of
              the Bank by the Guarantor, whether any current or other account.


7.      Certain Rights of Guarantor Subordinated or held in Trust:

        (1)   Until all moneys and liabilities due or incurred by or from the Borrower to
              the Bank shall have been paid or discharged, the Guarantor shall not, by
              paying off any sum recoverable hereunder or by any other means or on
              any other ground, claim any set-off or counterclaim against the Borrower
              in respect of any liability on the part of the Guarantor to the Borrower or
              claim or prove in competition with the Bank in respect of any payment by
              the Guarantor hereunder or be entitled to claim or have the benefit of any
              set-off, counterclaim or proof against or dividend, composition or payment
              by the Borrower or its estate or in the liquidation of the Borrower or the
              benefit of any other security which the Bank may now or hereafter hold for
              any moneys or liabilities due or incurred by the Borrower to the Bank or to
              have any share therein.

        (2)   Any security now or hereafter held by or for the Guarantor from the
              Borrower in respect of the liability of the Guarantor hereunder shall be
              held in trust for the Bank and as security for the liability of the Guarantor
              hereunder and shall forthwith be deposited by the Guarantor with the
              Bank for that purpose.

        8.    Bank may open New and Suspend Accounts:

        (1)   In the event of this Guarantee ceasing for any cause whatsoever to be
              binding as a continuing security on the Guarantor or its successors in title,



                                            5
     Case 18-32106 Document 178-8 Filed in TXSB on 06/06/18 Page 6 of 8



              the Bank shall be at liberty without thereby affecting its rights hereunder
              to open a fresh account or accounts and to continue any then existing
              accounts with the Borrower and no moneys paid into any such fresh
              account or accounts with the Borrower and no moneys paid into any such
              fresh account or accounts by or on behalf of the Borrower and
              subsequently drawn out shall on settlement of any claim in respect of this
              Guarantee be appropriated towards or have the effect of payment of a
              part of the moneys due from the Borrower at the time of this guarantee
              ceasing to be so binding or interest thereon unless the persons paying in
              such moneys shall at the time in writing direct the Bank specially so to
              appropriate the same.

        (2)   Any money received hereunder may be placed and kept to the credit of a
              suspense account for so long as the Bank reasonably thinks fit without
              any obligation in the meantime to apply the same or any part thereof in or
              towards the discharge of any moneys or liabilities due or incurred by or
              from the Borrower to the Bank. Notwithstanding any such payment, in the
              event of any proceedings in or analogous to liquidation, composition or
              arrangement, the Bank may prove for and agree to accept any dividend
              or composition in respect of the whole or any part of such moneys and
              liabilities in the same manner, as if this Guarantee had not been given.




9.      Government Actions Respecting Obligations and Security; Rescinded
        Payments; Changes and Event of Invalidity:

        (1)   No statute, regulation, decree, judicial finding or other governmental act
              which purports, for any reasons, to amend, reduce or otherwise affect any
              of the obligations, shall affect, impair, or be a defence to, this continuing
              Guarantee or the amounts due hereunder. If, in connection with the
              occurrence of any of the circumstances of insolvency as previously
              defined, or otherwise, any payment to the Bank on any of the obligations
              shall be rescinded or shall be required to be restored or returned by it,
              this continuing guarantee shall continue in effect and immediately re-
              attach or be re-instated, as though such payment to the Bank had not
              been made.

        (2)   This continuing Guarantee shall be binding on the Guarantor and its
              successors and assigns notwithstanding any change in the name, style or
              constitution of the Borrower or any liquidation, absorption, amalgamation
              or reconstruction of the Borrower and notwithstanding that the borrowing
              or incurring of any of the obligations may be invalid or in excess of the
              powers of the Borrower or of any director, attorney, agent or other



                                            6
  Case 18-32106 Document 178-8 Filed in TXSB on 06/06/18 Page 7 of 8



             persons purporting to borrow or act on behalf of the Borrower and
             notwithstanding any other irregularity in such borrowing or incurring the
             obligations.

10.   No Waiver of Bank's Right:

      No failure on the part of the Bank to exercise, and no delay in exercising any
      right, remedy, power or privilege under the obligations or under this continuing
      Guarantee shall operate as a waiver thereof and no single or partial exercise of
      any such right, remedy, power or privilege shall preclude any other or further
      exercise of any right, remedy, power or privilege. No waiver whatever shall be
      valid unless in writing signed by the parties and then only to the extent
      specifically set-forth in such writing.

11.   Notices, Demands and Certificates:

      (1)    Any notice or other demand required to be given by the Bank hereunder
             may be given or made by delivering or leaving the same or sending it by
             fax or an internationally recognized courier addressed to the Guarantor at
             its last known place of business and a notice or demand so given or
             made shall be deemed to be given or made on the day it was so left
             (supported by valid proof of delivery and receipt by the Borrower) or
             fourteen (14) ordinary days following that on which it was posted, as the
             case may be.

      (2)    A certificate by an officer of the Bank as to the moneys and liabilities for
             the time being due and payable to the Bank from or by the Borrower shall
             be conclusive evidence (albeit rebuttable) in any legal proceedings
             against the Guarantor or it’s successors in title.

12.   Succession and Transfer:

      This continuing Guarantee shall bind the Guarantor and its successors and
      assigns, and shall enure for the benefit of the Bank and its successors and
      assigns; provided that no assignment of any of the Guarantor's obligations
      hereunder shall be valid without the prior written consent of the Bank.

13.   Interpretation of Security/Account:

      In this Guarantee, where the context allows, the expression "security" shall be
      deemed to include a judgment, specialty, guarantee, indemnity, negotiable and
      other instruments and securities of every kind.




                                          7
Case 18-32106 Document 178-8 Filed in TXSB on 06/06/18 Page 8 of 8
